                Case
2AO 245C (Rev. )   2:11-cr-00057-LDG-DJA
                      Amended Judgment in a Criminal Case               Document 213            Filed 03/06/14(NOTE:
                                                                                                                 Page      1 Changes
                                                                                                                     Identify of 7 with Asterisks (*))
                Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                                        District of
           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                 Case Number: 2:11-cr-00057-LDG-CWH-5
                      RUBEN VELAZQUEZ
                                                                                 USM Number:
Date of Original Judgment:                2/25/2014                              Jason Carr
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
✔ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))
G                                                                                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
✔ pleaded guilty to count(s) Count 4 of the Indictment
G
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                             Offense Ended                 Count
21 USC § 841(a)(1),
(b)(1)(B)(vii) and 846                Conspiracy to Distribute a Controlled Substance                                2/3/2011                     4




       The defendant is sentenced as provided in pages 2 through                  7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 2/25/2014
                                                                                Date of Imposition of Judgment


                                                                                 Signature of Judge
                                                                                 LLOYD D. GEORGE, UNITED STATES DISTRICT JUDGE
                                                                                 Name of Judge              Title of Judge
                                                                                                     March 2014
                                                                                 Date
 AO 245C      Case
            (Rev. )2:11-cr-00057-LDG-DJA
                        Amended Judgment in a Criminal Case    Document 213           Filed 03/06/14          Page 2 of 7
            Sheet 2 — Imprisonment                                                                       (NOTE: Identify Changes with Asterisks (*))

                                                                                                      Judgment — Page       2     of         7
 DEFENDANT: RUBEN VELAZQUEZ
 CASE NUMBER: 2:11-cr-00057-LDG-CWH-5

                                                              IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
37 Months, Defendant has been deported.




 G The court makes the following recommendations to the Bureau of Prisons:




 G The defendant is remanded to the custody of the United States Marshal.

 G The defendant shall surrender to the United States Marshal for this district:
      G     at                                     G     a.m   G     p.m.        on                                     .

      G     as notified by the United States Marshal.

 G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      G     before 2 p.m. on                                            .

      G     as notified by the United States Marshal.

      G     as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                          to

 at                                                      with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                            By
                                                                                             DEPUTY UNITED STATES MARSHAL
                Case 2:11-cr-00057-LDG-DJA                          Document 213               Filed 03/06/14             Page 3 of 7
 AO 245C      (Rev. ) Amended Judgment in a Criminal Case
              Sheet 3 — Supervised Release                                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                                 Judgment—Page        3      of         7
 DEFENDANT: RUBEN VELAZQUEZ
 CASE NUMBER: 2:11-cr-00057-LDG-CWH-5
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

4 Years



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state, or local crime.
The
 TheDefendant
       defendantshall notnot
                   shall   unlawfully possess
                              unlawfully       a controlled
                                           possess          substance.
                                                    a controlled       The defendant
                                                                  substance.         shall refrain
                                                                               The defendant       from
                                                                                                shall    any unlawful
                                                                                                       refrain from anyuseunlawful
                                                                                                                            of a controlled
                                                                                                                                      use ofsubstance. The
                                                                                                                                              a controlled
defendant
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drugthe
           shall submit  to one drug test within 15 days  of placement on probation and at least two  periodic drug tests thereafter, as determined by  tests
 thereafter,
court,        as determined
       not to exceed  104 testsby the court.
                                annually. Revocation is mandatory for refusal to comply.

 G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 ✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 G
 ✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 G
 G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
         record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
         defendant’s compliance with such notification requirement.
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AO 245C    (Rev. ) Amended Judgment in a Criminal Case
           Sheet 3C — Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))

                                                                                             Judgment—Page       4      of         7
DEFENDANT: RUBEN VELAZQUEZ
CASE NUMBER: 2:11-cr-00057-LDG-CWH-5

                                       SPECIAL CONDITIONS OF SUPERVISION
1. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

2. Warrantless Search - To ensure compliance with all conditions of release, the defendant shall submit to the search of
his/her person, and any property, residence, business or automobile under his/her control by the probation officer, or any
other authorized person under the immediate and personal supervision of the probation officer without a search warrant at
a reasonable time and in a reasonable manner. Provided, however, the defendant shall be required to submit to any
search only if the probation officer has reasonable suspicion to believe the defendant has violated a condition or conditions
of release.

3. Deportation Compliance - If deported, you shall not reenter the United States without legal authorization.

4. True Name - You shall use your true name at all times and will be prohibited from the use of any aliases, false dates of
birth, social security numbers, places of birth, and any other pertinent demographic information.

5. Report to Probation Officer After Release from Custody - You shall report, in person, to the probation office in the district
to which you are released within 72 hours of discharge from custody.




       ACKNOWLEDGEMENT


       Upon finding of a violation of probation or supervised release, I understand that the court may
       (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
       supervision.

       These conditions have been read to me. I fully understand the conditions and have been provided
       a copy of them.


       (Signed)             _________________________                               ______________________
                            Defendant                                               Date


                          ___________________________                               _______________________
                          U.S. Probation/Designated Witness                         Date
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AO 245C    (Rev. ) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                         (NOTE: Identify Changes with Asterisks (*))

                                                                                                   Judgment — Page      5     of            7
DEFENDANT: RUBEN VELAZQUEZ
CASE NUMBER: 2:11-cr-00057-LDG-CWH-5
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                        Fine                              Restitution
TOTALS           $ 100.00                                            $ WAIVED                         $ N/A


G The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                    Total Loss*               Restitution Ordered       Priority or Percentage




TOTALS                                                           $      43,300.00           $      43,300.00

G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for           G fine        G restitution.
     G the interest requirement for            G     fine     G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245C     (Rev. ) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment — Page      6       of         7
DEFENDANT: RUBEN VELAZQUEZ
CASE NUMBER: 2:11-cr-00057-LDG-CWH-5

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $ 100.00
     G                                                         due immediately, balance due

          G not later than                                        , or
          G in accordance with G C, G D, G                        E, or   G F below; or
B    G Payment to begin immediately (may be combined with G C,                      G D, or     G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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'()(1'$17 RUBEN VELAZQUEZ
&$6(180%(5 2:11-cr-00057-LDG-CWH-5
                                                   DENIAL OF FEDERAL BENEFITS
                                        (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

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✔ LQHOLJLEOHIRUDOOIHGHUDOEHQHILWVIRUDSHULRGRI
G                                                          5 Years                          

G LQHOLJLEOHIRUWKHIROORZLQJIHGHUDOEHQHILWVIRUDSHULRGRI                                          
      VSHFLI\EHQHILW V 




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     25'(5('WKDWWKHGHIHQGDQWVKDOOEHSHUPDQHQWO\LQHOLJLEOHIRUDOOIHGHUDOEHQHILWV

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     ,7,625'(5('WKDWWKHGHIHQGDQWVKDOO

G EHLQHOLJLEOHIRUDOOIHGHUDOEHQHILWVIRUDSHULRGRI                                    

G EHLQHOLJLEOHIRUWKHIROORZLQJIHGHUDOEHQHILWVIRUDSHULRGRI                                       

      VSHFLI\EHQHILW V




     G     VXFFHVVIXOO\FRPSOHWHDGUXJWHVWLQJDQGWUHDWPHQWSURJUDP

     G     SHUIRUPFRPPXQLW\VHUYLFHDVVSHFLILHGLQWKHSUREDWLRQDQGVXSHUYLVHGUHOHDVHSRUWLRQRIWKLVMXGJPHQW

     G     +DYLQJGHWHUPLQHGWKDWWKLVLVWKHGHIHQGDQW¶VVHFRQGRUVXEVHTXHQWFRQYLFWLRQIRUSRVVHVVLRQRIDFRQWUROOHGVXEVWDQFH,7
           ,6)857+(525'(5('WKDWWKHGHIHQGDQWVKDOOFRPSOHWHDQ\GUXJWUHDWPHQWSURJUDPDQGFRPPXQLW\VHUYLFHVSHFLILHGLQWKLV
           MXGJPHQWDVDUHTXLUHPHQWIRUWKHUHLQVWDWHPHQWRIHOLJLELOLW\IRUIHGHUDOEHQHILWV



          Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                               U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
